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 1   JAMES R. GREINER, ESQ.
     CALIFORNIA STATE BAR NUMBER 123357
 2   LAW OFFICES OF JAMES R. GREINER
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 3   SACRAMENTO, CALIFORNIA 95825
     TELEPHONE:(916) 649-2006
 4   FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     CHARLEY STEPHENSON
 6
 7
                    IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                            EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,           )                  CR.-S-04-406-FCD
                                         )
11         PLAINTIFF,                    )                  STIPULATION AND ORDER
                                         )                  TO CONTINUE STATUS CONFERENCE
12         v.                            )
                                         )                  “CORRECTED”
13   CHARLEY STEPHENSON.,et al.,         )
                                         )                  DATE: November 14, 2005
14                                       )                  Time: 9:30 a.m.
           DEFENDANTS.                   )                  Judge: Honorable Judge Franck C. Damrell
15   ____________________________________)
16
            Plaintiff United States of America, by its counsel, Assistant United States Attorney, Mr.
17
     Kenneth J. Melikian, and defendant CHARLEY STEPHENSON., by his counsel James R. Greiner,
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     hereby stipulate and agree that the status conference calendared for Monday, October 11, 2005, at
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     9:30 a.m. before the Honorable District Court Judge Frank C. Damrell, Jr., be vacated and
20
     rescheduled to Monday, November 14, 2005 at 9:30 a.m.
21
            This continuance is requested to allow defense counsel additional time to review additional
22
     discovery with his client, to examine possible defenses, and to continue on-going investigation of the
23
     facts of this case. In addition, it will allow the government and defense counsel time to carry on
24
     discussions regarding the possible resolution of this matter.
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            The parties stipulate and agree that time shall be excluded through Monday,
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     November 14, 2005, under Title 18 section 3161(h)(8)(B)(ii) and Local Code T-4.
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28                                                      1
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 1                                  Respectfully submitted,
 2                                  McGREGOR W. SCOTT
                                    UNITED STATES ATTORNEY
 3
 4   DATED: October 19, 2005
 5
                                    /s/ KENNETH J. MELIKIAN by telephone authority
 6                                  _____________________________________
                                    KENNETH J. MELIKIAN
 7                                  ASSISTANT UNITED STATES ATTORNEY
                                    ATTORNEYS FOR THE PLAINTIFF
 8
 9
     DATED: October 19, 2005
10                                  /s/ JAMES R. GREINER
                                    _____________________________________
11                                  JAMES R. GREINER
                                    ATTORNEY FOR DEFENDANT
12                                  CHARLEY STEPHENSON
13
                                            ORDER
14
15
           FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
16
17
     DATED: October 19, 2005.
18
19
20
                                /s/ Frank C. Damrell Jr.
21                              FRANK C. DAMRELL JR.
                                UNITED STATES DISTRICT COURT JUDGE
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23
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28                                              2
